










COURT OF APPEALS
SECOND DISTRICT OF TEXAS
FORT WORTH
&nbsp;
NO. 
2-04-373-CR
&nbsp; 
&nbsp; 
THE 
STATE OF TEXAS&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;STATE
&nbsp; 
V.
&nbsp; 
RANDY KEITH 
WARD&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 
APPELLEE
&nbsp; 
----------
FROM 
COUNTY CRIMINAL COURT NO. 2 OF DENTON COUNTY
----------
MEMORANDUM OPINION1 AND JUDGMENT
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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We 
have considered the “State’s Motion To Dismiss Appeal And Issue 
Mandate.”&nbsp; The motion complies with rule 42.2(a) of the rules of 
appellate procedure.  Tex. R. App. P. 42.2(a).&nbsp; No decision of 
this court having been delivered before we received this motion, we grant the 
motion and dismiss the appeal.&nbsp; See id.; Tex. R. App. P. 43.2(f).&nbsp; As agreed 
by the parties, the mandate will issue immediately.&nbsp; See Tex. R. App. P. 18.1(c).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;It 
is further ordered that the State shall pay all costs of this appeal, for which 
let execution issue.&nbsp; See 
Tex. Code Crim. Proc. Ann. 
art. 44.01(f) (Vernon Supp. 2004-05).
&nbsp; 
&nbsp;&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;PER 
CURIAM
&nbsp; 
&nbsp; 
PANEL 
D:&nbsp;&nbsp;&nbsp;DAUPHINOT, HOLMAN, and GARDNER, JJ.
&nbsp;
DO 
NOT PUBLISH
Tex. R. App. P. 47.2(b)
&nbsp;
DELIVERED: 
December 2, 2004

&nbsp;
NOTES
1.&nbsp; 
See Tex. R. App. P. 47.4.



